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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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ELENI MIGLIS, ¢¢ a/,
Plaintiffs,
v.
Civil Action No. 16-cv-8160
BED BATH AND BEYOND, INC.

Defendant.

 

STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE.

Plaintiffs Eleni Miglis, Hector Caraballo, Bryan LaForest, Guy-Robert Desir, Radica Kutwatu,
Andrew Certoma, John Cutajat, and Alexis Carree (“Plaintiffs”) and Bed Bath & Beyond Inc.
(“Defendant”) (collectively, “the parties”), through their undersigned counsel, stipulate and agree as
follows:

1, No party hereto is an infant or incompetent person for whom a committee has been
appointed and no person has an interest in the subject matter of the action.

2, The Settlement Agreement is fair and reasonable, and adequate to redress both
Plaintiffs’ claims relating to their former employment as Assistant Store Managers (“ASMs”) and to
compensate Plaintiffs’ Counsel Hang & Associates, PLLC law firm on its request for attorneys’ fees
except with regard to those arising solely from the Excluded Claims as defined in the fully executed
Settlement Agreement.

3. In accordance with Rule 41 of the Federal Rules of Civil Procedure, the parties

respectfully request that-all-claims by Plaintiffs against Defendant, except the Excluded_Claims-as-

specifically defined in the fully executed Settlement Agreement, be dismissed with prejudice and
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without costs of attorneys’ fees (other than those costs and attorneys’ fees specified in the Settlement
Agreement) with each party to bear its own fees and costs.

Dated: May 2, 2019

Respectfully submitted,

PLAINTIFFS, BED BATH & BEYOND INC,

 

  

dn F, Keith (admitted pro bac vice)
sreenberg ‘Traurig LLP

 

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SO ORDERED on this 6 __ day — 2019

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PAUL A. ENGELMAYER
United States District Court Judge

 
